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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Ronald H. Pratte,                                 No. CV-19-00239-PHX-GMS
10
                    Plaintiff,                         ORDER
11
     v.
12
     Jeffrey Bardwell, et al.,
13
                    Defendants.
14
15           Pending before the Court is the Parties’ Joint Status Report and Motion to Extend
16   Scheduling Dates (Doc. 45) and good cause appearing,
17           IT IS HEREBY ORDERED that the Motion to Extend is granted. The Case
18   Management Orders (Docs. 14, 29, 37, 39, 42, 44) are amended as follows:
19           1.    The deadline for final supplementation of MIDP responses and Extending
20   the deadline for final supplementation of MIDP responses and the completion of fact
21   discovery, including discovery by subpoena shall be no later than August 21, 2020.
22           2.    Plaintiff shall provide full and complete expert disclosures no later than
23   August 28, 2020.
24           3.    Defendants shall provide full and complete expert disclosures no later than
25   September 25, 2020.
26           4.    Rebuttal expert disclosures, if any, shall be made no later than October 23,
27   2020.
28           5.    Expert depositions shall be completed no later than November 27, 2020.
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 1         6.     Dispositive motions, if any, shall be filed no later than December 18, 2020.
 2         7.     The parties shall file their respective two-page letters regarding any
 3   anticipated dispositive motions no later than November 13, 2020. The parties shall contact
 4   the Court the following week to schedule a time for a pre-motion conference.
 5         8.     No further extensions shall be granted.
 6         Dated this 14th day of July, 2020.
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